IN THE UNITED STATES DISTRICT COURT

 
 
       
 
      
       

  
   

  

ROBBIE sHERRoN ) §
) 5
Plaintiff, ) k m TH\S OFF%"'€ » |;1“_
> § w
V- ) 1;15~€\/-852 B,,€;_,.\ »/
) VERDICT sHEET 6 rig L
sHoNICIA JoNEs, )
)
Defendant. )

1. Did Defendant Shonicia Jones act With deliberate indifference to the serious
medical needs of Plaintiff Robbie Sherron?

Yes

Iers, Go to Issue 2.

X NO
IfNO, Siop.

2. What amount if any is the Plaintiff Robbie Sherron entitled to recover?

After you answer this issue, stop and inform the Couri you have a verdict

$

Enter an amount

This éZ/SZ/g day of]une, 2018.

FOR’EPERSGN

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Case 1:15-CV-00852-CCE-LPA Document 125 Filed 06/15/18 Paoe 1 of 1

